                                              United States Bankruptcy Court
                                             Middle District of Pennsylvania
In re:                                                                                                     Case No. 10-06612-RNO
West Shore Oil Company, Inc.                                                                               Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0314-1                  User: BStanchak                    Page 1 of 1                          Date Rcvd: Oct 06, 2014
                                      Form ID: fnldec                    Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Oct 08, 2014.
db              West Shore Oil Company, Inc.,   1719 N Front St,   Harrisburg, PA 17102-2305

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social Security
Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required by the
bankruptcy rules and the Judiciary’s privacy policies.
Date: Oct 08, 2014                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on October 6, 2014 at the address(es) listed below:
              Deborah A. Hughes    on behalf of Debtor    West Shore Oil Company, Inc. dhughes@ssbc-law.com,
               bankruptcy.dhughes@gmail.com;kshirk@ssbc-law.com
              Eugene E. Pepinsky, Jr.    on behalf of Creditor    Wells Fargo Bank, N. A. epepinsky@keeferwood.com
              Heather Z Kelly    on behalf of Creditor    Riverview National Bank f/k/a 1st National Bank of
               Marysville and successor by consolidation to Halifax National Bank hzkelly@mette.com
              James Francis Bohan    on behalf of Interested Party    Commonwealth of Pennsylvania, Department of
               Environmental Protection jbohan@state.pa.us
              Leon P Haller   on behalf of Trustee Leon P. Haller (Trustee) lhaller@pkh.com, dmaurer@pkh.com
              Leon P Haller   on behalf of Plaintiff Leon P. Haller (Trustee) lhaller@pkh.com, dmaurer@pkh.com
              Leon P. Haller (Trustee)    lhaller@pkh.com, lrynard@pkh.com;lhaller@ecf.epiqsystems.com
              Shawn Michael Long    on behalf of Creditor    Amerigreen Biofuels slong@barley.com,
               jrachor@barley.com;cbrelje@barley.com;jhudson@barley.com;kcunneen@barley.com;ashirk@barley.com;ts
               hober@barley.com
              Shawn Michael Long    on behalf of Creditor    Worley and Obetz c/o Shawn M. Long slong@barley.com,
               jrachor@barley.com;cbrelje@barley.com;jhudson@barley.com;kcunneen@barley.com;ashirk@barley.com;ts
               hober@barley.com
              Thomas O. Williams    on behalf of Creditor    Eshenaurs Fuels, Inc TWilliams@ReagerAdlerPC.com,
               ASouders@ReagerAdlerPC.com
              Timothy A Hoy   on behalf of Creditor    Riverview National Bank f/k/a 1st National Bank of
               Marysville and successor by consolidation to Halifax National Bank tahoy@mette.com,
               ncblosser@mette.com
              United States Trustee    ustpregion03.ha.ecf@usdoj.gov
                                                                                              TOTAL: 12




        Case 1:10-bk-06612-RNO Doc 140 Filed 10/08/14 Entered 10/09/14 00:59:53                                                Desc
                             Imaged Certificate of Notice Page 1 of 2
fnldec (06/14)


                                   UNITED STATES BANKRUPTCY COURT
                                             MIDDLE DISTRICT OF PENNSYLVANIA
In re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, and trade):

    West Shore Oil Company, Inc.                                                     Chapter 7
    aka Wesco Heating & Cooling, aka Wesco Energies                                  Case No. 1:10−bk−06612−RNO
    1719 N Front St
    Harrisburg, PA 17102−2305

     Last four digits of Social−Security, Individual
    Taxpayer−Identification, Employer Tax−Identification No(s)(if
    any):
    xxx−xx−3864
    23−1611513


                                                                 FINAL DECREE

The estate of the above named debtor(s) has been fully administered.


IT IS ORDERED, Leon P. Haller (Trustee) is discharged as trustee of the estate of the above−named debtor(s);
and the chapter 7 case of the above named debtor(s) is closed.
                                                           BY THE COURT
Dated: October 6, 2014



                                                                                     Honorable Robert N. Opel
                                                                                     United States Bankruptcy Judge

                                             This document is electronically signed and filed on the same date.




  Case 1:10-bk-06612-RNO Doc 140 Filed 10/08/14 Entered 10/09/14 00:59:53                                             Desc
                       Imaged Certificate of Notice Page 2 of 2
